                                                                                       DOC NO
                     IN THE UNITED STATES DISTRICT COURT                            REC 'D/F IL ED
                    FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                              2021'1AR-3 PM 1=23

UNITED STATES OF AMERICA                                 INDICTMENT

             V.
                                                           21            CR
                                                          18 U.S.C. § 922(g)(l)
STEPHEN J. ROBESON,

                            Defendant.



THE GRAND JURY CHARGES:


                                         COUNTl

      On or about September 26, 2020, in the Western District of Wisconsin, the

defendant,

                                 STEPHEN J. ROBESON,

knowing he had previously been convicted of an offense punishable by a term of

imprisonment exceeding one year, knowingly and unlawfully possessed in or affecting

commerce an Armalite, Model: AR50Al, .50 Caliber rifle, said firearm having

previously traveled in and affected interstate commerce.

             (In violation of Title 18, United States Code, Section 922(g)(l)).




                                          PRESIDING JUROR

                                          Indictment returned:     I{}   3/oa/2,1


Acti g United States Attorney
